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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 DR. DOROTHY NAIRNE, et al.,
                                                  Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

 v.                                               Chief Judge Shelly D. Dick

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,              Magistrate Judge Scott D. Johnson

         Defendant.


             DEFENDANT’S MOTION TO CONFIRM THE SCOPE OF THE
                          COURT’S INJUNCTION

       Defendant Nancy Landry, in her official capacity as Secretary of State of Louisiana (the

“Secretary”), by and through undersigned counsel, hereby moves this Court for an order

confirming that she can conduct the elections mandated by President of the Louisiana Senate J.

Cameron Henry, Jr.’s December 11, 2023 proclamations made pursuant to Article II, Section 4(D)

of the Louisiana Constitution and Louisiana Revised Statutes Section 18:601 to fill vacancies in

SD14 and SD23 prior to the start of the Legislature’s 2025 Regular Session. For reasons set forth

in the accompanying memorandum in support, which are incorporated herein by reference, the

Secretary interprets the Court’s February 8, 2024 injunction, Rec. Doc. 233, to prohibit her from

conducting the October 2027 regularly scheduled legislative elections under H.B. 1 and S.B. 14,

unless the Court’s injunction is otherwise altered by the Fifth Circuit or the Supreme Court of the

United States. The Secretary does not currently understand the Court’s injunction to apply to these

two vacancy elections. In the alternative, should this Court disagree with the Secretary’s

interpretation of its previous orders, the Secretary respectfully moves for a stay of this Court’s

February 8, 2024 Injunction Order as to Senate Districts 14 and 23.
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 Respectfully submitted this the 23rd day of December, 2024.


                                      /s/ Phillip J. Strach
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                                      official capacity as Secretary of State of Louisiana




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